    Case 1:01-cv-12257-PBS Document 6528-60 Filed 09/22/09 Page 1 of 3




                               Exhibit 59



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
      Case 1:01-cv-12257-PBS Document 6528-60 Filed 09/22/09 Page 2 of 3
OR Department of Human Services (Jesse Anderson)                    December 16, 2008
                                         Salem, OR


                              UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS
                                                          -x
          IN RE: PHARMACEUTICAL INDUSTRY                   ) MDL No. 1456
          AVERAGE WHOLESALE PRICE                          ) Civil Action No.
          LITIGATION                                       ) 01-12257-PBS
                                                          X

          THIS DOCUMENT RELATES TO:                        ) Hon. Patti Bo

          United States of America ex rel. ) Saris
          Ven-A-Care of the Florida Keys, )
          Inc. v. Dey, Inc., et al., Civil )

          Action No. 05-II084-PBS; and                     )
          United States of America ex rel. )
          Ven-A-Care of the Florida Keys,                  )
          Inc. v. Boehringer Ingelheim                     )
          Corp., et al., Civil Action No.                  )
          07-10248-PBS                                     )
                                                          -X

               VIDEOTAPED DEPOSITION OF THE OREGON DEPARTMENT
                         OF HUMAN SERVICES by JESSE ANDERSON
                           PURSUANT TO FEDERAL RULE 30(B) (6)
                              TUESDAY, DECEMBER 16, 2008


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        Case 1:01-cv-12257-PBS Document 6528-60 Filed 09/22/09 Page 3 of 3
OR Departlnent of Human Services (Jesse Anderson)                                             December 16, 2008
                                                  Salem, OR
                                                                        17     (Pages 62 to 65)
                                                      62                                                      64

 1      near the top rather -- Well, it wasn’t in the 1      1    our AWP was less, that’s what it was going to
 2      in the list of Roxane exhibits; it was probably      2    pay.
 3      after that.                                          3        Q. BY MR. HEINZ: Understood. And I just
 4              THE WITNESS: So the first?                   4    want you to look at the columns there under the
 5              MS. SCHNEIDER THOMAS: No. It’s--             5    EAC heading "estimated acquisition costs, pay the
 6      It’s -- Do you want to help him? It’s the MNS        6    lower of each formula listed."
 7      chart.                                               7        A. Um-hum.
 8              MR. DAVIS: Can we see that stack             8        Q. And then under "retail," you’ll see
 9      there.                                               9    that, for the 1991 through September 30th, 2001,
io              MR. HEINZ: Looks just like this.            10    time period, for retail pharmacies it has DP and
ii              MR. DAVIS: One moment, please.              11    AWP minus 11 percent. Do you see that?
12                  (Sotto voce remarks.)                   12        A. Yes.
13          Q. BY MR. HEINZ: Mr. Anderson, I’d like         13        Q. So am I correct that, during that time
14      for you just to look over plaintiffs’ Exhibit 1,    ?_4   frame, Oregon Medicaid defined its estimated
15      specifically the chart at the top of the page.      15    acquisition costs as the lower of DP or AWP minus
16      No need to review in great detail; just become      16     11 percent?
17      familiar with it and let me know when you’re        17            MS. SCHNEIDER THOMAS: Objection, form.
18      finished.                                           18            THE WITNESS: No, I don’t think that’s
19          A. Okay.                                        19    correct. Because we -- there was still, as far
 o          Q. I’d like to direct your attention to         20    as I knew -- I don’t know when the FULs came in;
 1      the chart at the top of plaintiffs’ Oregon 1.       21    but if there was a federal or upper limit, we
 2      And just looking at the columns titled              22    still took that into account. So if that was

                                                       63                                                     65

   1    "reimbursement is always lowest of either FUL or   1      lower than the AWP -- DP, again, was before my
   2    EAC or SMAC or U&C," and tben the columns with     2      time, so I don’t know what that was -- that we
   3    the title "estimated acquisition cost, pay the     3      would pay the lowest.
   4    lower of each formula listed."                     4         Q. BY MR. HEINZ: And I think that’s what
   5            Looking at that information and the        5      this chart is understanding -- and let me know if
   6    time frames on the left-hand side of the page, if  6      I’m incorrect -- that they paid the lower of FUL,
   7    you could review that and let me know if the       7      EAC, SMAC, or U&C?
   s    reimbursement methodology listed there is           8        A. Yes.
   9    consistent with your memory of the reimbursement    9        Q. Is that your understanding?
 10     changes over time.                                10         A. Yes.
 ii         A. That looks correct.                        ii         Q. And I’m just looking at the EAC portion
 ?_2        Q. So just as an overview: It appears         12      of that, of that formula. And just looking at
 ?_ 3   that during the majority of the 1990s and through 13      the EAC portion, understanding that they pay the
 ?_4    most of 2001, Oregon Medicaid defined its EAC for ?.4     lower of FUL, EAC, SMAC, or U&C, that during the
 15     retail pharmacies as the lower of DP or AWP minus 15      1991 through 2001 time frame, they defined just
 16      11 percent; correct?                             ?.6     the EAC portion as DP or AWP minus 11 percent.
 17             MS. SCHNEIDER THOMAS: Objection, form.17          Do you see that?
 18             THE WITNESS: My understanding of          18             MS. SCHNEIDER THOMAS: Objection, form.
 19     Medicaid is that we have always paid the lower of 19             THE WITNESS: But 1 don’t think that’s
 20     anything, whether they did the bill -- whatever   20      what it says; because, you know, I -- In how --
 21     was the lowest amount. If it was a federal upper  21      In the rules that we had, EAC meant that it was
 22      limit, if there was -- if they billed less, if   22      the lowest of any of these things. So it wasn’t


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